537 U.S. 1102
    SIVILAYv.BARNHART, COMMISSIONER OF SOCIAL SECURITY.
    No. 02-7291.
    Supreme Court of United States.
    January 13, 2003.
    
      1
      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE NINTH CIRCUIT.
    
    
      2
      C. A. 9th Cir.; Motion of petitioner for leave to proceed in forma pauperis denied. Petitioners are allowed until February 3, 2003, within which to pay the docketing fees required by Rule 38(a) and to submit petitions in compliance with Rule 33.1 of the Rules of this Court.
    
    